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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOSHUA JARVIS,

      Defendant.                                    Case No. 06-cr-30138-9-DRH


                                     ORDER

HERNDON, District Judge:

            Pending before the Court is a Motion to Withdraw as Counsel (Doc.

262). Specifically, Jarvis’s attorney, Greg Roosevelt, moves to withdraw because

Jarvis wishes to have different counsel represent him in this matter, as well as the

fact that the two seem to have reached an impasse in their attorney-client

relationship. Said Motion (Doc. 262) is therefore GRANTED. Accordingly, the Court

APPOINTS CJA-panel attorney G. Ethan Skaggs, P.O. Box 8007, Belleville, Illinois,

62222, to hereby serve as defendant Smith’s representative counsel in this matter.

The Court reminds the parties that this matter is currently set for trial on October

22, 2007 at 9:00 a.m.

            IT IS SO ORDERED.

            Signed this 3rd day of July, 2007.


                                                      /s/      David RHerndon
                                                      United States District Judge
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